                                   CASE 0:19-cv-02914-DSD-BRT Doc. 1-3 Filed 11/01/19 Page 1 of 2
                                                                         CWIL.CO\rER SHEET                                                                    l4*L\tt D)t)8nrl
                                                                                                                                                                                         law, cxcept as
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r.(a) PLATNTTFFS                                                                                                                                       E rttehY Iwc..
                                   CRmi LW A. kggouD                                                                                                     iuePQY Tepvicrs
  (b) county orResidence of First Listed Plaintiff \dl9l                                                                                               )erendant      tkPPE7; N
                               (EXCEPT N U.S. PLAINNFF CASES)
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   (c) attomeys (Firn Nams Aildress, md TelephoreNmber)                                                      Afiomeys (IfKnotn)
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II. BASIS OF JIIRISDICTION rn*" an "x" inoneBoxontv)                                            m. CITIZENSIilP OF PRINCIPAL PARTIES (Place an "X" in one Boxfor Plointilf
                                                                                                        (For Div*sity Cases OnlS)                                         and One Boxfor Defend^|
ol U.S. Government     | 3 FederalQucstion                                                                                      PTF       DEF                                                 PTF
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         PIaintiff                              (U.5. Govemmenl Not a Parq)                        Citizen of This   State      D  I      trl        Incorporated or PrincipalPlace            A4        O4
                                                                                                                                                        ofBusiness In This State


o2 U.S. Governnenl                    O 4 Diversity                                                CitizenofA.sotberState O2               O 2       IncorporatedandPrincipalPlace            ft 5       O5
         Defendant                              Qndicate Citberchip of Parties in Iten III)                                                            ofBusiness In Another State

                                                                                                   CitizenorSubjectofa O3                  O 3 ForeignNation                                  O6         06

IV. NATURE OF SUIT (PIwan"x"inoneBu                                                                                                        Click here for:


o I l0 Insurarce                       PERSONALINJURY                   PERSONALINJURY                625 Drug Related Seizue         O 422 Appeal 28 USC 158            O 375 False Claims Act
E 120 Marine                         O 3l0Airplane                  O 365 Personal Injury -                ofPropeny 2l USC 881       O 423 Withdrawal                   O 376QuiTam(31 USC
D 130 Mille.r Act                    O .115 Airplane Product                Product Liability         690 other                              28 USC 15?                            3729(a))
                                                                    O 367 Health Care/                                                                                   g 400 state ReaPportionment
o I 40 Negotiablc InsFumcnt                  Liability
o 150 Reeovery of Overpalmmt         O 320 Assault Lib€l &                Pbarmaceutical                                                                                 O 410 Antitrust
       & Enforcernent of                    Slander                       Personal Injury                                             D 820 Copyrights                   O 430 Banks and Banking
  l5l Medicare Act                   f, 330 Federal Ernployen'            Product Liability                                           O 83OPatent                        0 450 Commerce
U I 32 Recovery ofDcfaultcd               Liability                 O 368 Asbestos Personal                                           O 835 Patent- Abbreiiat"d          O.460 Deportation
       Studcnt Irans                 O 340Marine                           Injuri Product                                                   New Drug Application'        O 470 Racksteer Influenced ald
       (Excludes Vetcras)            O 345 MarineProduct                  Uability                                                                                                 Corrupt Organizations
[J 153 Recovery of Overpayment               Liability              , PERSONALPROPERTY                                                                                   D 480 Consumer Credit
      ofVeteran's BenefiE            O 350 Molor Vehicle            O 370 OtherFraud               O ?l0FairkborSlandtrds               861 HrA (139sf0                  O 490 Cable/Sat TV
B 160 Stockbolders' Suits            fl 355 MotorVeNcle             O'3?l 'Iruth in I*nding                Act                          862 Black Lung (923)             O 850 Secwities/Commoditiesi
0 l!0OtherContract                         Product Liability        O 380 Oths Personal            O 720 I:borfivlanagement             863 DrWC/DIWW (aos@)                       Exchange
O i9j Ccntract Product Liability     0 360 Other Personal                 Property Dmagc                   Relations                    864 SSID TitlcXVI                O 890 Other Statutory Actions
O 196Fra:rchise                              IttjurY                O 385 Property Damage          O 740 RailwaykborAct                 86s RSI (40s(g)                  O 891 Agricul$ralActs
                                     O 362 Persoul Injury -               Product Liability        O 751 FanilyandMedical                                                O 893 Envimnmmtal Mattcrs
                                                                                                           IJave Act                                                     O 895 Freedom of Information
                                                                                                   O 790 Otherkbor Litigation                                                      Act
0 2lC Lard Condesmation              0 440OthrCivilRiglts              Habeas Corpus:              O 791 Employec Retirement          O 870 Tues (U.S. Plaintiff         0 896 Abibation
O 220 Foreclosure                       ul4l Voting                  O 463 Alien Detainee                 Income Security Act                or Defendant)               tr 899 A.lministralive Procedure
O 230 Rent Lease & Ejectnent            442 Employment               O 510 Motions to vacate                                          O 871 IRS-Third Party                        Act/Review or Appeal of
O 240 Torts to Led                      443 Housing/                       Sentcnce                                                          26US€4609--r'                 f flfficYDecision
                                                                     O 530 General                                                                   KECTi                 of
                                                                                                                                                                            950 Con5tinrdonality


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O 245 Tort ProductLiability                 Accommodations


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O 29OAI| OtherRcal Prope4y           O tK5 Ams. VDisabilities        O 535DathPenalty
                                           Employment               Other:                         O 462 NahraliatioD Application
                                     8.446 Amer- dDisabilities - O 540 Mandamus & Other
                                           Other
                                     O 448 Education
                                                                 O. 550 Civil Rights
                                                                 O 5J5 Pri*t'Dondition
                                                                                                   "irryfff$[ur                                           N0"/ ; i
                                                                     D 560 Civil Detainee -
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V. ORIGIN (Place an "X" in one Box only)                                                                                                *rPLS
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      ProEeeding
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                                                the U.S. Civil Statute under which you are flling (Do not citc jurixlictional statula unless diverciv)'.

VI. CAUSE OF ACTION                                              carxe: | \

vu. REQITESTED IN                               CHECK IF THIS IS A CLASS ACTION                       DEMAND$                                    CIIECKYES only
     COMPLAINT:                                 UNDER RLJLE 23, F.RCv.P.                                                            ,000         JTJRYDEMAND:

VItr. RELATED
      IF'ANY                                                                                                                             DOCKETNUMBER
DATE                                                                            TUREOF A                OFRECORD
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                                  CASE 0:19-cv-02914-DSD-BRT Doc. 1-3 Filed 11/01/19 Page 2 of 2
     JS.44 Reverse @ev. M/17)


                        INSTRUCTIONS FOR ATTORNEYS COMPLETING CTWL COVER SHEET FORM JS 44
                                                                     Authoritv For Civil Cover Sheet

                                                                                                                          and service ofpleading or other papers as
     The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings
                                                                                                   Judicial  Conference  of the united states in September 1974,is
     required by law, except as provided by local mles of court. This fornu approved by        the
                                                         purpose  of initiating tne iivit docket sheet.  Consequently,  a civil cover sheet is submitted to the clerk of
     required for the use oi the L'lerk of Court for the
     Colrt for each civil complaint   filed. The attomey  filing a case  should  complete  the fonn as  follows:

     I.(a)    plaintiffs-Defendants. Enter names (last, fust, middle initial) of plaintiffand defendant. If the plaintiffor defendant is a government agency' use
                                                                                                                 govemment agency, identifr first the agency and
              only the full name or standard abbreviations. If the plaintiffor defendant is an official within a
              then the official, giving both name and title.
        (b)   CountyofResidence. ForeachcivilcasefiledexceptU.S.plaintiffcases,entertlenrmeofthecountywherethefirstlistedplaintiffresidesatthe
                                                                                                                                  the time of filing- (NoTE: In land
              time oifiling. In U.S. plaintiff cases, enter the nu-" of th" county in which the first listed defendant resides at
              condemnation cases, the county ofresidence ofthe "defendant" is the location ofthe       tact ofland  involved.)
                                                                                                                                                 on an attachment, noting
        (c)   Attorneys. Enter the firu name, address, telephone number, and attomey of record. If there are several attomeys, list them
              in this section "(see attiachment)".

                                                                                                                         jurisdictions be shown in pleadings. Place an "X"
     II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that
              in one of the boxes. If there is more   than one basis ofjurisdiction, precedence    is  given in the order  shown below.
                                                                                                                                      the united States are included here.
              United states plaintiff. (l) Jurisdiction based on 28 U:S.c. 1345 and 1348. Suits by agencies and officers of
                                                                                              its           or agencies,  place an  "X"  in this box'
              United States iefendant. (z; wnen tne plaintiffis suing the United      States,     offlrcers
              Federal question. (3) This refers to suits under 28 U.Si. 1331, where
                                                                                       jurisdiction arises under the constitution of the United States, an amendment
                                                                                                                     parly, the U.S. plaintiff or defendant code takes
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a
              precedence, and box I or 2 should be marked.
                                                                                                                                states. When Box 4 is checked, the
              biversity oicitizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different
                                                                                                                                  take precedence over diversity
              citizenship of the diffeieni iu.ti.* must be checked- (See Section III below; NorE: federal
                                                                                                               question actions
              cases.)

              Residence (citizenship) of principal parties. This section of the JS 44 is to be completed if diversity
                                                                                                                          of citizenship was indicated above. Mark this
     III.
              section for each principal PartY.

                                          ,,X,, in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
     rv.      Nature of SuiL place an
              that is most applicable. click here for: Nature of Suit code Descriptions.

      v.      Origin. Place an "X" in one of the seven boxes.
              origlnat Proceedings. (1) cases which originate in the United states district courts.
                                                                                                                        under Title 28 U.S.C.' Section l44l'
              Removed from State Court. (2) proceedings initiated in state courts may be removed to the district courts
f.            When the petition for removal is granted, check this box.
                                                                                                                                                      as the filing
F.
              ffi;;-il';;'A;.ih"        court.-(E) Check this box for cases remanded to the district court for turther action. Use the dale of remand
{
              date.
                                                                                                                     the reopening date as the filing date'
              Reinstated or Ri:opened. (4) Check this box for cases reinstated or reopened in the dishict court. Use
t{
              Transfirred from Another.dirt i.t. (5) For cases transferred under  titll z8 U.S.C. Section 1404(a). Do  not use this for within district transfers or

;l{ '         multidistrict litigation transfers.
                                                                                                                                      authority of Title 28 U'S'c'
I             Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the diskict under
               Section 1407.
                                                                                                                                 as the Master MDL docket.
              Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district
                                                                                                                                       and is no longer relevant due to
              PLEASE NOTE TIIAT THERE IS NOT AN ORIGIN CODE 7. Origin code 7 was used for historical records
              changes in statue.

      w.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description
                                                                                                                              of the cause. Do not cite jurisdictional
                                                                                  553 Brief Description: Unauthorized    reception  of cable service
               statutes unless diversity. Example: U.S. Civil St"tot , 47 USC

                                                                                                                             23' F.R.Cv.P
      VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule
                                                                                       or indicate  other demand such as a preliminary injunction.
               Demand. In this space enter the actual dollar amount being demanded
               Jury Demand. Check the appropriate   box  to indicate whether or not a jury  is being demanded.

                                                                                                                                    pending cases, insert the docket
      vt[.     Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related
               numbers and the corresponding judge names for such cases.

      Date and Attorney Signature. Date and sign ttre civil cover sheet-
